       Case 2:16-cv-00249-RDP Document 13 Filed 03/28/16 Page 1 of 1                             FILED
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                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA



                        UNITED STATES BA::'IIKRUPTCY COURT
                     FOR THE ::'IIOR'fW~ttNr!!lfj'{RICT OF ALABAMA
                                SdU1hDll~ \)fVISION

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 In the Matter of:
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                                  U,S. OISTRiClf CWiRifict Court Case #CV-16-00249-RDP
 Walter Energy, Inc., et aI.,      N.D. OF ALfBAHA
                                               }    Bankruptcy Case #lS-02741-TOM-ll
       Debtor(s)
                                               }
                                               }
 United Mine Workers of America
                                               }
 Combined Benefit Fund and the
                                               }
 United Mine Workers of America
                                               }
 1992 Benefit Plan
                                               }
                                               }
      Appellant
                                               }
                                               }
 Walter Energy, Inc., et aI.,
                                               }
      Appellee
                          CERTIFICATE OF RECORD ON APPEAL

        In accordance with Federal Rule of Bankruptcy Procedure 8010, the undersigned Deputy
Clerk files with the Clerk of the United States District Court electronic copies of documents
constituting the record on appeal:

               a.      Order (I) Approving the Sale of Certain Non-Core Assets Free and Clear
                       of Claims, Liens, Interests and Encumbrances; (II) Approving the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases; and (1lI) Granting Related Relief (Docket Entry
                       #1863);
               b.      The Notice of Appeal (Docket Entry #1876);
               c.      Docket Entries kept by the Bankruptcy Clerk;
               d.      Items designated by Appellant and Appellee.



Dated: March 28, 2016                                 Joseph E. Bulgarella, Clerk
                                                      United States Bankruptcy Court

                                                      By: lsI Leigh Tumlin
                                                              Deputy Clerk
